Case 7:15-cv-00160 Document 5 Filed in TXSD on 05/18/15 Page 1 of 5

IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
DISTRICT OF TEXAS MCALLEN DIVISION

ELOY SAENZ, MIGUEL DOMINGUEZ,
And DEANNA SANCHEZ

CIV]L ACTION NO. 7:15-cv-00160

§
§
§
vs, §
§
§

ASI Lloyds

ELOY SAENZ’S STIPULATION OF DISMISSAL

Pursuant to Federal Rule of Civil Procedure 41 (a) (l) (A) (ii) PlaintiH`ELOY
SAENZ files this stipulation of dismissal as to Defendant ASI Lloyds.
l. Plaintiff is Eloy Saenz. Defendant is ASI Lloyds.
2. PlaintiH`Eloy Saenz moves to dismiss his claims against ASI Lloyds.
3. Plaintiff Was mistakenly included in the filings of the above-listed lawsuit
4. PlaintiH`Eloy Saenz has previously settled his claims against ASI Lloyds Which are
re-claimed in this lawsuit; and, so that he is not in violation of his prior settlement

agreement, must dismiss his claims in this lawsuit

5. This case is not a class action
6. A receiver has not been appointed in this case.
7. This dismissal is With prejudice to re-flling.

DATED; May 8, 2015.
Respect{illly submitted,

.ls'/" Pe v!r)n S. Kam;)crs
Peyton S. Kampas

State Bar No. 24081533
121 North ]0th Street
McAllen, Texas 78501
Telephone: (956) 630-3266
Facsimile: (956) 630-03 83

Case 7:15-cv-00160 Document 5

AGREED :

J Scott Simon

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DISTR]CT OF TEXAS MCALLEN DIVISION

ELOY SAENZ, M[GUEL DOMINGUEZ,
And DEANNA SANCHEZ

VS.

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ASI Lloyds

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/s'/ Pe v!pn S. Kcrmpas
Peyton S. Kampas

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AGRBED:

 

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Case 7:15-cv-00160 Document 5 Filed in TXSD on 05/18/15 Page 5 of 5

ELOY SAENZ, MIGUEL
DOMINGUEZ, And DEANNA
SANCHEZ

Plainti]j”s,

CIVIL ACTION NO. 7: l 5-cv-00160
vs_

ASI LLOYDS

Defena'ant,

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i n 5 -I'
Afcer considering the Law Office of Vicente Gonzalez & Associates P.C.’s stipulation
of dismissal as attorneys of record, the Court GRANTS the Dismissal and that the firm and
the individual attorneys working for them are no longer counsel of record in the above captioned

mattel

 

PRESIDING IUDGE

Cc: Jay Scott Simon, Thompson, Coe, Cousins & Irons, L.L.P., One Riverway, Suite 1600
Houston, Texas 77056

